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                    UNITED STATES DISTRICT COURT
                      DISTRICT OF MASSACHUSETTS


                                  )
UNITED STATES OF AMERICA          )
                                  )
            v.                    ) CIVIL NO. 07-12056-PBS
                                  )
JEFFREY SHIELDS,                  )
          Respondent.             )
                                  )


                         MEMORANDUM AND ORDER

                           January 27, 2011

Saris, U.S.D.J.

     Jeffery Shields (“Shields”) is civilly committed to the

Bureau of Prisons as a “sexually dangerous person” pursuant to

the Adam Walsh Act, 18 U.S.C. § 4247-4248. See United States v.

Shields, 597 F.Supp.2d 224 (D. Mass. 2009).        On June 10, 2010,

Shields moved for a hearing on whether he could be safely

released into the community. See 18 U.S.C. § 4247(h).          Over the

course of a three day hearing which concluded on December 7,

2010, the Court heard the testimony of (1) Dr. Joseph Plaud,

Ph.D., the Court's designated examiner; (2) Andres Hernandez,

Psy, D., the Clinical Coordinator of BOP's commitment and

Treatment Program; and (3) Tanya Cunic, Psy. D., a BOP forensic

psychologist.

    Following the hearing, Shields asked this Court to refrain

from deciding whether he remained sexually dangerous until he

completes Phase IV of his treatment.       At the same time, he
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petitioned the Court to order the BOP to transfer him from the

Federal Correctional Institution in Butner, North Carolina (“FCI

Butner”) to the    Federal Prison Camp within the Butner complex

(“Camp”), where he can complete his treatment within a less

restrictive setting.    Because the BOP bases its decision to house

Mr. Shields within FCI Butner on a reasoned professional

judgment, the Court DENIES Shields' request.

                               Discussion

    Mr. Shields is one of the few civil detainees enrolled in

the BOP's Commitment and Treatment Program (“CTP”) at FCI Butner.

Currently, CTP involves a four phase treatment protocol.          (See

Johns Aff. ¶ 5.)    The first phase, Phase I, orients CTP inmates

to the policies and procedures of the program and evaluates their

treatment needs.    Phase II teaches skills including, but not

limited to, conflict resolution and social skills, management of

negative emotions, management of criminal thinking patterns,

management of deviant sexual behavior, understanding of victim

impact and moral reasoning.     Phase III focuses on skills

including, but not limited to, management of healthy sexuality,

relapse prevention and lifestyle balance, advanced self-

regulatory skills, advanced relationship and intimacy skills, and

victim empathy.    Phase IV, entitled “Community Reintegration

Preparation and Planning, includes but is not limited to,

advanced relapse prevention, effective life planning, employment



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readiness, and self-governance skills. (See Johns Aff. ¶ 5.)

Finally, treatment providers have conceptualized but have not yet

implemented a Phase V, which is a “step-down or transitional

phase” that helps participants successfully transition into the

community. (Tr. 12/6/10, 18:1-6.)

     Mr. Shields is currently involved in Phase IV of the

program, and the BOP has decided to continue to house him within

FCI Butner as opposed to moving him into the Butner Camp, though

housing Mr. Shields within the Butner camp will arguably provide

an effective stepped-down transition into Mr. Shields' future

life outside of an institution.      Mr. Shields argues that because

he is civilly detained, the Court should closely scrutinize the

conditions of his confinement and order that he be transferred to

the Camp.

    The statutory language guiding the BOP's determination of

where to house an individual committed under the Adam Walsh Act

provides minimal guidance.     18 U.S.C. § 4248(d) states that the

“Attorney General shall place the person for treatment in a

suitable facility.” Id.     The statute goes on to specify that a

“suitable facility” is a “facility that is suitable to provide

care or treatment given the nature of the offense and the

characteristics of the defendant.” 18 U.S.C. § 4247(a)(2).             The

BOP's treatment within FCI Butner has provided Mr. Shields with

high quality treatment and care surpassing the minimum statutory

requirements.

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      Nonetheless, the BOP's decisions regarding Mr. Shields

treatment are subject to constitutional scrutiny as well.               See

Youngberg v. Romeo, 457 U.S. 305, 315 (1982) (“The mere fact that

Romeo has been [civilly] committed        under proper procedures does

not deprive him of all substantive liberty interests under the

Fourteenth Amendment.”).      People civilly committed by the

government are protected by constitutional considerations not

necessarily applicable to those serving criminal sentences.               As

the Supreme Court explained in Youngberg, “Persons who have been

involuntarily committed are entitled to more considerate

treatment and conditions of confinement than criminals whose

conditions of confinement are designed to punish.”          Id. at 321-

22.   As opposed to punishment, the purposes of civil confinement

are treatment and incapacitation, and “due process requires that

the conditions and duration of confinement under [the Adam Walsh

Act] bear some reasonable relation to [these purposes].” See

Sealing v. Young, 531 U.S. 250, 265 (2001); see also, Allison v.

Snyder, 332 F.3d 1076, 1079 (7th Cir. 2003)(“[Civil] detainees

may be subjected to conditions that advance goals such as

preventing escape and assuring the safety of others, even though

they may not be punished.”).

      This inquiry requires the weighing of a number of factors:

society's need to protect itself, Mr. Shield's constitutionally

protected liberty interests, and the statute's stated goals of

rehabilitating sexually dangerous people to a point where they

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can reenter society.    Although this difficult determination is

ultimately the Court's, in scrutinizing the conditions of civil

confinement, due deference must be given to the expertise of the

professionals that treat and supervise civil detainees.          As the

Supreme Court has explained, “[T]he Constitution only requires

that the courts make certain that professional judgment in fact

was exercised.” Youngberg, 457 U.S. at 321.        In other words, in

order to override the government's decision to house Mr. Shield

within FCI Butner as opposed to the Camp, the Court must find

that this determination was not based on a reasoned professional

judgment grounded in the purposes of Shields' confinement.             It is

not enough for Mr. Shields to show that there are alternative

treatment options, or even that there are alternative treatment

options that would more quickly bring him to a point where he is

no longer sexually dangerous.      In determining the conditions owed

civil detainees, “It is not appropriate for the courts to specify

which of several professionally acceptable choices should have

been made.” Id.

    The government has established that its decision to house

Mr. Shields within the correctional facility at FCI Butner is

based on a professional judgment that appropriately takes into

consideration the need to protect society along with the

effectiveness of Mr. Shields treatment.       Dr. Hernandez, Mr.

Shields treatment provider, consistently and credibly expressed

that Mr. Shields could most effectively complete Phase IV of his

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treatment plan within the correctional facility.           He told the

Court that “I can offer what I need to offer to him in a more

effective and expedient way where he's at [in the correctional

facility.]”     (Tr. 12/6/10, 32:20-21.)      Dr. Hernandez later

reiterated:

    [I]t's not my convenience. It's first and foremost my
    confidence in the fact that there are certain skills
    that I am in fact more confident in teaching him while
    he is in total confinement, relapse prevention being
    one of those critical skills; that I would want to have
    him master those skills before putting him in a
    situation where he could re-offend. And therefore my
    confidence in knowing that he's not going to not only
    escape from the camp but effectively apply those
    relapse prevention skills is increased.

    The government has also submitted an affidavit from             Tracy

W. Johns (“Johns”), the warden at FCI Butner and the Federal

Prison Camp. (See Johns Aff.)        Johns notes that Phase IV of the

sex offender treatment provided within FCI Butner provides

“Community Reintegration, Preparation and Planning, includ[ing]

but not limited to advanced relapse prevention, effective life

planning, employment readiness, and self-governance skills.” (Id.

¶ 5.)    This treatment will prepare Mr. Shields for release to a

less restrictive setting, but in the mean time, Johns deems it

important to ensure that Shields is adequately secured in order

to eliminate the risk that he will re-offend during treatment.

As opposed to the medium security setting provided by FCI-Butner,

the prison camp “does not have adequate resources to securely




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house [sexually dangerous civil detainees] during Phase IV.” (Id.

¶ 9.)

        Shields argues that because the BOP has yet to establish a

Phase V that would allow him to transition into the community

while receiving treatment from the Butner staff, the next best

treatment approach would involve providing Phase IV treatment

within a less restrictive transitional setting, and, therefore,

the Court should order that Shields be transferred to the Camp.

The Court is unpersuaded by this argument.          For one, as explained

above, the Constitution does not require the Court to scrutinize

the details of Mr. Shields treatment in order to determine what

would be the best possible treatment plan; the Court is free to

trust the reasoned judgment of professionals that Phase IV

treatment will be more effectively administered within FCI-

Butner.    Moreover, this argument fails to account for the fact

that the Court must weigh not only the therapeutic effectiveness

of Shields' treatment, but also society's interests in protecting

itself.    Notwithstanding the importance of a transitional reentry

into the community, the Court does not believe that this

transition should occur before Mr. Shields has completed his

treatment in advanced relapse prevention.

    Finally, though it is indeed discouraging that the BOP has

yet to establish a Phase V, the Court is confident that it will

have the authority to order a Phase V-like transitional treatment

program administered by the Department of Probation as supervised

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release or the BOP pursuant to 18 U.S.C. § 4248(e)(2)(A), which

allows the Court to “order that a[n Adam Walsh Act detainee] be

conditionally discharged under a prescribed regimen of medical,

psychiatric, or psychological care or treatment that has been

prepared for him, that has been certified to the court as

appropriate by the Director of the facility in which he is

committed, and that has been found by the court to be

appropriate.” Id.

                                 Order

    At petitioner’s request, the Court refrains from acting on

Shield’s petition until he has finished Phase IV of his treatment

plan within the correctional facility FCI-Butner.



                                         /s/ PATTI B. SARIS
                                         PATTI B. SARIS
                                         United States District Judge




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